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AO 245B (CASDRev. 08/13) Judgment in a Criminal Case                                                           FILED
                                                                                                                AUG 1 8 2015
                                     UNITED STATES DISTRICT COURT
                                                                                                          CLERKUi OISTR4~CT~C-O-U...JRT
                                         SOUTHERN DISTRICT OF CALIFORNIA                             SOUTHERN DISTRICT OF CALIFORNIA
                                                                                                     BY                    a..
                                                                                                                         c. c:. DEPUTY
              UNITED STATES OF AMERICA                              JUDGMENT IN A CH':MI~AL CASE                                 -
                                V.                                  (For Offenses Committed On or After November 1, 1987)
            DONALD MICKEY STOKES III (17)
                                                                       Case Number:         14CR3537-BAS

                                                                    STEPHEN EDWARD HOFFMAN
                                                                    Defendant's Attorney
REGISTRATION NO.                    48886298
 o­
 IZI   pleaded guilty to count(s)      ONE (l) OF THE INDICTMENT

 o was found guilty on count(s)
     after a Dlea of not ~uiltv.                       ..    .    ...
 Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                         Count
 Title & Section                     Nature of Offense                                                                  Number(s)
 18 USC 1962(d)                      CONSPIRACY TO CONDUCT ENTERPRISE AFFAIRS                                                    1
                                     THROUGH A PATTERN QFRACKETEER.ING ACTIVITY




     The defendant is sentenced as provided in pages 2 through                 4           of this judgment.
 The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
 o The defendant has been found not gUilty on count(s)
 o Count(s)                                                    is          dismissed on the motion ofthe United States.
             ---------------------------
 IZI Assessment: $100.00


 IZI No fine                    0 Forfeiture pursuant to order filed                                              , included herein.
        IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
 change of name, residence, or mailing address until all fmes, restitution, costs, and special assessments imposed by this
 judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
 any material change in the defendant's economic circumstanc.es.                 .


                                                                     AUGUST 17.2015
                                                                     Date of Imposition of Se




                                                                                                                       14CR3537-BAS
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                                                 IMPRISONMENT
 The defendant is hereby committed to the custody ofthe United States Bureau ofPrisons to be imprisoned for a term of:
 TWENTY SEVEN (27) MONTHS.




 o      Sentence imposed pursuant to Title 8 USC Section 1326(b).
 o      The court makes the following recommendations to the Bureau of Prisons:




  o     The defendant is remanded to the custody ofthe United States Marshal.

  o     The defendant shall surrender to the United States Marshal for this district:
         o    at
                 ----------------           A.M.              on __----------------____~__________
         o    as notified by the United States Marshal..

        The defendant shall surrender for service ofsentence at the institution designated by the Bureau of
  o     Prisons:
         o    on or before
         o    as notified by the United States Marshal. .
         o    as notified by the Probation or Pretrial Services Office.

                                                       RETURN
  I have executed this judgment as follows:

         Defendant delivered on
                                  _________________________ ro _____________________________

  at
       ----------------------- ,with a certified copy of this Judgment.
                                                                 UNITED STATES MARSHAL


                                      By                    DEPUTY UNITED STATES MARSHAL


                                                                                                       14CR3537-BAS
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                                                       SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS.


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13. 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days ofrelease from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
tenn of supervision, unless otherwise ordered by court.

 o The      above drug testing condition is suspended, based on the court's detennination that the defendant poses a low risk of future
       substance abuse. (Check, if applicable.)
       The defendant shall not possess a firearm, ammunition. destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection ofa DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
       BaCklog Elimination Act of2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
       The defendant shall comply with the requirements ofthe Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
 o seq.) as directed by the probation officer, the Bureau of Prisons, or any state SeX offender registration agency in which he or she
       resides, works, is a student, or was convicted of a qualifying offense. (Check if applicable.)
 o The defendant shall participate in an approved program for domestic violence. (Check if applicable.)
          lfthis judgment imposes a fine or a restitution obligation; it shall be a condition of supervised release that the defendant pay any
     such fine or restitution that remains unpaid at the commericemeniofthe term of supervised release in accordance with the Schedule of
     Payments set forth in this judgment.                             .                   ..
          The defendant shall comply with the standard conditions that have been adopted by this court..The defendant shall also comply
      with any special conditions imposed.
                                        STANDARD CONDITIONS OF SUPERVISION
     1)  the defendant shall not leave the judicial district without the pennission of the court or probation officel';
     2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
     3)  the defendant shall answer truthfully all inquiries by the probatioIJ officer and follow the instructions of the probation officer;
     4)  the defendant shall support his or her dependents and meet other family responsibilities;
     5)  the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
         reasons;
     6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
         any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8) the defendant shall not frequent places where controlled. substances are illegally sold, used, distributed, .or administered;
     9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
          unless granted permission to do so by the probation officer;
     10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
          observed in plain view of the probation officer,
     11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
     12) the defendant shall not enter into any agreement to act as an infonner or a special agent of a law enforcement agency without the pennission of
          the court; and
     13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record or
          personal history or characteristics and shall permit the probation officer to make such n()tifications and to confirm the defendant's compliance
          with such notification requirement.



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                                  SPECIAL CONDITIONS OF SUPERVISION

      I. Report all vehicles owned or operated, or in which you have an interest, to the probation officer.

      2. Submit your person, property, residence, office, social media accounts, or vehicle to a search, conducted
         by a United States Probation Officer at a reasonable time and in a reasonable manner, based upon
         reasonable suspicion of contraband or evidence of a violation of a condition ofrelease; failure to submit
         to a search may be grounds for revocation; the defendant shall warn any other residents that the premises
         may be subject to searches pursuant to this condition.

      3. Shall not knowingly associate with any member, prospect, or associate of the (Tycoons; Lincoln Park;
         KTF), or any other gang or club with ahistory of criminal activity, unless given permission by the
         probation officer.


      4. Shall not wear or possess any paraphernalia; insignia; clothing, photographs, or any other materials
         associated with a gang, unless given permission by the probation officer.


      5. Shall not loiter, or be present in locations known to be areas where gang members congregate, unless
         permission by the probation officer.

      6. Not use or possess devices which can communicate data via modem or dedicated connection and may
         not have access to the Internet without prior approval from the court or the probation officer. The
         offender shall consent to the installation ofsystems that will et;Uible the probation officer to monitor
         computer us on any computer owned or controlled by the offender. The offender shall pay for the costs
         of installation of the computer software.

      7. Provide complete disclosure ofpersonal and business financial records to the probation officer as
         requested.

      8. Shall not knowingly associate with prostitutes or pimps and/or loiter in areas frequented by those
         engaged in prostitution and sex trafficking.

      9. Resolve all outstanding warrants within 90 days.



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